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City of San Diego, City of Sacramento, City of Moreno
Valley, City of Riverside, City of Los Angeles City of
Compton, City of Temecula, City of Palmdale, City of                                      3:22-CV-00260-L-MDD
Lancaster, City of San Bernardino, City of Vallejo, City of
Fontana, City of Murrieta, City of Fairfield, City of Perris,
City of Yucaipa, City of Corona, City of Rialto and Roes
1-250, Ex. Rel Blackbird Special Project, LLC
      Invitation Homes, Inc.                                                    Relator Blackbird Special Project, LLC


         H. McKnight



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                                           x




                                                                                   /s/ H. Vincent McKnight




  Edward Chapin                                                                 (619) 577-4251


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                                                                                 /s/ H. Vincent McKnight

                                                                                  /s/ Ed Chapin
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Pro Hae Vice (For this one particular occasion)

An attorney who is not a member of the California State Bar, but who is a member in good standing of,
and eligible to practice before, the bar of any United States court or of the highest court of any State or
of any Territory or Insular possession of the United States, who is of good moral character, and who has
been retained to appear in this Court, be permitted to appear and participate in a particular case. An
attorney is not eligible to practice pursuant to this paragraph if any one or more of the following apply
to him/her: (1) he/she resides in California, (2) he/she is regularly employed in California, or (3) he/she
is regularly engaged in business, professional, or other activities in California.

The pro hac vice application shall be presented to the Clerk and shall state under penalty of perjury
(1) the attorney's residence and office address, (2) by what court he/she has been admitted to practice
and the date of admission, he/she is in good standing and eligible to practice in said court,
(4) that he/she is not currently suspended or disbarred in any other court, and (5) if he/she has
concurrently or within the year preceding his/her current application made any pro hac vice application
to this court, the title and the case number of each matter wherein he made application, the date of
application, and whether or not his/her application was gran ted. He/She shall also designate in his
application a member of the bar of this Court with whom the Court and opposing counsel may readily
communicate regarding the conduct of the case and upon whom papers shall be served. He/She shall
file with such application the address, telephone number and written consent of such designee.

Fee: $213.00

If application and fee require submission via U.S. Mail, please contact:

                                                      CASD Attorney Admissions Clerk
                                                      (619) 557-5329
